Nathaniel Amdur-Clark
nathaniel@sonosky.net
Whitney A. Leonard
whitney@sonosky.net
Sonosky, Chambers, Sachse,
  Miller & Monkman, LLP
725 East Fireweed Lane, Suite 420
Anchorage, Alaska 99503
Telephone: (907) 258-6377
Facsimile: (907) 272-8332

Attorneys for Intervenor Kuskokwim River Inter-Tribal
  Fish Commission

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

 THE UNITED STATES OF                     )
 AMERICA,                                 )
                                          )
                 Plaintiff,               )
                                          )
         v.                               )    Case No. 1:22-cv-00054-SLG
                                          )
 THE STATE OF ALASKA, THE                 )
 ALASKA DEPARTMENT OF FISH & )
 GAME and DOUG VINCENT-LANG, )
 in his official capacity as Commissioner )
 of the Alaska Department of Fish &       )
 Game,                                    )
                                          )
                 Defendants.              )
                                          )



                   DECLARATION OF MIKE WILLIAMS, SR.

      I, Mike Williams, Sr., declare as follows:




United States v. State of Alaska, Case No. 1:22-cv-00054-SLG                Page 1 of 8
                                                      Ex. A,
       Case 1:22-cv-00054-SLG Document 14-1 Filed 06/03/22   Page
                                                           Page 1 of 81 of 8
      1.     I am the Chairman of the Kuskokwim River Inter-Tribal Fish Commission

(the “Commission”), which is an inter-tribal consortium that represents the Federally

Recognized Indian Tribes 1 of the Kuskokwim River watershed concerning fisheries

management matters, including but not limited to the management of the Kuskokwim River

Chinook and chum salmon fisheries.

      2.     I was born in Akiak, Alaska, which is located on the Kuskokwim River. I

was delivered by a traditional indigenous midwife in Akiak, where I grew up and continue

to live. I have spent most of my life living, fishing, observing, and stewarding our lands

and resources to ensure continuation of our indigenous ways of life. The subsistence

Chinook and chum salmon fisheries constitute a key element of the rural subsistence

lifestyle of my family and the communities around us up and down the Kuskokwim River.

      3.     In addition to serving as the current Chair of the Commission, I continue to

serve as the Chief of the Akiak Native Community, the federally recognized tribal



1
  Each of the following Member Tribes of the Commission has issued a duly-adopted
resolution ratifying the Kuskokwim River Inter-Tribal Fish Commission Constitution and
authorizing the Commissioner appointed by that Tribe to vote on behalf of the Tribe:
Nikolai Village, Telida Village, McGrath Native Village, Takotna Village, Native Village
of Georgetown, Village of Stony River, Village of Sleetmute, Village of Crooked Creek,
Native Village of Napaimute, Native Village of Chuathbaluk, Village of Kalskag, Village
of Lower Kalskag, Village of Aniak, Tuluksak Native Community, Akiak Native
Community, Akiachak Native Community, Organized Village of Kwethluk, Orutsararmuit
Native Village (a/k/a Bethel), Native Village of Napaskiak, Native Village of Napakiak,
Village of Atmautluak, Kasigluk Traditional Elders Council, Native Village of Eek,
Village of Chefornak, and Native Village of Kwinhegak (a/k/a Quinhagak). Currently, the
Commissioners for Lime Village, Village of Red Devil, Oscarville Traditional Village,
Native Village of Kongiganak, Native Village of Kwigillingok, and the Native Village of
Kipnuk may participate but do not vote on Commission decisions.

United States v. State of Alaska, Case No. 1:22-cv-00054-SLG                  Page 2 of 8
                                                      Ex. A,
       Case 1:22-cv-00054-SLG Document 14-1 Filed 06/03/22   Page
                                                           Page 2 of 82 of 8
government of Akiak, Alaska, where I have served on the tribal council for over 40 years.

I have worked for almost 50 years advocating for sober living and working in the

behavioral health field by revitalizing tribal heritage, language, and cultural traditions that

have guided our people to live together in harmony with each other, their land and their

environment to survive in the harshest climate by using and protecting its natural resources

for fish and wildlife for food and clothing. The shortages of Chinook and chum salmon our

communities have been experiencing for more than a decade have measurable

consequences for individual, family, and community health and well-being. Proper

stewardship of our tribal resources is an essential responsibility of the federally recognized

Indian Tribes that established the Commission and their powers of self-governance and

jurisdiction over their tribal citizens and subsistence resources are a foundational piece of

the cultural fabric of Commission’s member tribes.

       4.     Federal management of the Chinook and chum salmon resources of the

Kuskokwim River within the Yukon Delta National Wildlife Refuge (“Refuge”) is critical

to the continued viability of the subsistence way of life for the Commission’s Member

Tribes. ADF&G prosecuted fisheries that harvested 50 to 60 percent of the total Chinook

salmon run in 2010, 2011 and 2013, which were three of the last four years that the Alaska

Department of Fish & Game (“ADF&G”) was the sole management agency responsible

for management decisions for the entire Kuskokwim River Chinook salmon runs.

ADF&G’s actions in 2010, 2011 and 2013 resulted in extremely high and demonstrably

unsustainable total harvest rates on a declined population that constituted over-harvest.



United States v. State of Alaska, Case No. 1:22-cv-00054-SLG                      Page 3 of 8
                                                       Ex. A,
        Case 1:22-cv-00054-SLG Document 14-1 Filed 06/03/22   Page
                                                            Page 3 of 83 of 8
These years are among the lowest runs on record. In 2014, the harvest had to be severely

restricted, resulting in a Chinook salmon harvest of less than 12,000 fish, compared to the

long-term average harvest of approximately 88,000 Chinook salmon. Based on this

evidence of past management practices when ADFG had responsibility for managing the

entire Kuskokwim River Chinook salmon run, the Commission, federally qualified users,

and federal managers are understandably concerned that ADF&G management actions

may result in irreparable harm to this critically important subsistence fishery resource.

       5.     I, and the other Commission’s Executive Council members and staff, along

with the Commission’s in-season managers, worked closely with the Fish and Wildlife

Service (“USFWS”) and the federal in-season manager, Mr. Boyd Blihovde, to create a

management and harvest strategy for Kuskokwim River Chinook and chum salmon before

and during the 2021 fishing season.

       6.     Based on decision-making in collaboration with the Commission that

combines Western science with Traditional Indigenous Knowledge, Mr. Blihovde issued

an emergency special action that closed the mainstem of the Kuskokwim River and several

tributaries within the Yukon Delta National Wildlife Refuge (“Refuge”) to subsistence

gillnet fishing. However, there were several opportunities for federally qualified users to

fish during specific time periods and using specific gear (“openings”).

       7.     Over the course of the 2021 fishing season, the State of Alaska Department

of Fish & Game (“ADF&G”) issued a series of announcements purporting to allow fishing




United States v. State of Alaska, Case No. 1:22-cv-00054-SLG                     Page 4 of 8
                                                       Ex. A,
        Case 1:22-cv-00054-SLG Document 14-1 Filed 06/03/22   Page
                                                            Page 4 of 84 of 8
by all Alaskans within the Refuge during times and using gear that were often similar

(though not always identical) to the openings provided for federally qualified users.

       8.     ADF&G also announced an opening, for June 28, 2021, purporting to allow

gillnet fishing for salmon on the Kuskokwim River within the Refuge by all Alaskans even

though federal regulations did not allow for any persons (federally qualified users or not)

to be fishing for salmon in that area at that time.

       9.     ADF&G’s actions during the 2021 fishing season were seen by the

Commission, its Member Tribes, staff, and Commissioners as a blatant effort by the State

of Alaska to undermine and weaken federal management of the Chinook and chum salmon

fisheries within the Refuge and undercut the federal subsistence priority required by

ANILCA Title VIII.

       10.    These efforts were at least partly successful. ADF&G does not document

salmon harvests by Alaskans not living in Kuskokwim River communities, despite State

statutes directing them to do so under current conditions of salmon fishing restrictions.

Despite the Commission’s wide-ranging informational campaign to educate subsistence

fishers regarding the fact that fishing during ADF&G’s unlawful June 28 opening would

be a violation of federal fisheries regulations, USFWS aerial surveys counted 220 boats

participating in that opening within the Refuge.

       11.    ADF&G’s actions created significant confusion and uncertainty for

subsistence fishing families struggling to meet their subsistence salmon needs during the




United States v. State of Alaska, Case No. 1:22-cv-00054-SLG                   Page 5 of 8
                                                       Ex. A,
        Case 1:22-cv-00054-SLG Document 14-1 Filed 06/03/22   Page
                                                            Page 5 of 85 of 8
last fishing season, and I am deeply concerned that this will continue into this season,

further undermining the Commission’s efforts.

       12.    For example, ADF&G’s announcement regarding the June 28 opening

caused widespread confusion for federally qualified subsistence fishers who are dependent

on salmon to meet their subsistence needs and who have not been able to meet their

documented long-term subsistence needs for the past eleven years and who are, at the same

time, concerned that they be cited for illegal fishing. Subsistence fishers were confused for

several reasons, including the ADF&G’s confusing and internally-contradictory language

which was hard to parse for any non-lawyer—and especially for rural subsistence fishers

who may speak English as a second language.

       13.    In addition, each year for the previous six years, the Chinook salmon season

had been managed by the federal in-season manager. In 2021, from the beginning of the

Chinook salmon season on June 1 until the ADF&G emergency order on June 25, all legal

salmon harvest openings were issued by the federal in-season manager under delegated

authority of the Federal Subsistence Board in consultation with the Commission. Refuge

and Commission staff conducted in-season harvest monitoring and assessment projects to

estimate the total numbers of salmon harvested during each of these federal openings. Now,

for the first time in six consecutive years a different agency was independently telling all

Alaskan residents they could harvest salmon with gillnets during a federal closed period

with no provisions to monitor or document the salmon harvests by non-federally qualified




United States v. State of Alaska, Case No. 1:22-cv-00054-SLG                     Page 6 of 8
                                                       Ex. A,
        Case 1:22-cv-00054-SLG Document 14-1 Filed 06/03/22   Page
                                                            Page 6 of 86 of 8
users. This lead to greater uncertainty about total harvest estimates and therefore greater

uncertainty about final Chinook and chum salmon escapement estimates.

      14.    The confusion experienced by fishing families resulting from ADF&G’s

action required the Commission to implement an information campaign to explain that,

despite ADF&G’s announcement, it was illegal to subsistence fish with gillnets on the

mainstem of the Kuskokwim River on June 28, 2021. This information campaign included

outreach via the Commission’s webpage and email newsletter, social media posting, radio

talk show announcements, and extensive word-of-mouth communications.                    The

Commission’s leadership and staff also fielded numerous phone calls generated by

confused members of the community who were faced with contradictory information and

needed assistance in navigating it.     This was an “all-hands-on-deck” event for the

Commission, which sapped the Commission’s time and depleted Commission resources.

      15.    Again, despite these efforts, at least 220 boats participated in the opening and

harvested salmon during the federal closure in reliance on ADF&G’s announcement

without proper harvest documentation by non-federally qualified users.

       16.    Although ADF&G’s other purported openings that “mirrored” the federal

opening (but allowed fishing by all Alaskans) did not create the same magnitude of chaos

on the river as the June 28 opening, they did cause widespread confusion and uncertainty.

I, and other Commissioners and members of Commission staff, had many discussions with

members of Kuskokwim River communities and received calls from rural subsistence

fishing families asking for help in understanding the contradictory federal and ADF&G



United States v. State of Alaska, Case No. 1:22-cv-00054-SLG                    Page 7 of 8
                                                       Ex. A,
        Case 1:22-cv-00054-SLG Document 14-1 Filed 06/03/22   Page
                                                            Page 7 of 87 of 8
announcements. It was clear that many Alaskans are not steeped in the intricacies of

ANILCA and do not understand that the federal rules supersede the State’s within the

Refuge. And it is equally clear that, because of that confusion, Chinook and chum salmon

were harvested within the Refuge in violation of federal regulations.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

       Executed this 3rd day of June, 2022.



                                         _____________________________
                                         Mike Williams, Sr., Chair
                                         Kuskokwim River Inter-Tribal Fish
                                         Commission




United States v. State of Alaska, Case No. 1:22-cv-00054-SLG                  Page 8 of 8
                                                       Ex. A,
        Case 1:22-cv-00054-SLG Document 14-1 Filed 06/03/22   Page
                                                            Page 8 of 88 of 8
